        Case 1:22-cv-11421-ADB Document 13 Filed 10/07/22 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                                       for the
                            District of Massachusetts


JOSE MARIA DECASTRO, an          ) Case No. 1:22-cv-11421-ADB
individual                       )
                                 ) APPLICATION TO CLERK FOR
 Plaintiff,                      ) ENTRY OF DEFAULT
                                 )
 v.                              )
                                 )
 JOSHUA ABRAMS, an individual,   )
 et al.                          )
                                 )
 Defendants.                     )
_________________________________


          APPLICATION TO CLERK FOR ENTRY OF DEFAULT

To the Clerk of the United States District Court for the District of Massachusetts:

     I, Plaintiff Jose DeCastro, hereby requests that the Clerk enter the default of

defendant Joshua Abrams for failure to plead or otherwise defend in a timely

manner as provided by Federal Rules of Civil Procedure, Rule 55(a).

     This request is based on the following:

         (1) The defendant was served with the summons and complaint pursuant

            to Federal Rules of Civil Procedure, Rule 4(c) on September 16, 2022,

            as evidenced by the proof of service on file with this court.
        Case 1:22-cv-11421-ADB Document 13 Filed 10/07/22 Page 2 of 2




         (2) The defendant has failed to plead or otherwise respond to the

            complaint.

         (3) The applicable time limit for responding has expired.

I declare under penalty of perjury that the forgoing is true and correct.



Dated: October 7, 2022                     Respectfully submitted,


                                           /s/ Jose DeCastro
                                           Jose DeCastro
                                           1258 Franklin St.
                                           Santa Monica, CA 90404
                                           deletelawz@gmail.com
                                           (310) 963-2445
                                           Pro Se


                          CERTIFICATE OF SERVICE

I, Jose DeCastro, hereby certify that on October 6, 2022, a true and correct copy of
this document was filed through the ECF system and will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing, and by
first-class mail to all non-registered participants, if any.

                                           /s/ Jose DeCastro




                                           2
